                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )      Criminal No. 3:14-00179
                                                   )      Judge Trauger
                                                   )
JOSE JURARDO ARIAS                                 )

                                          ORDER

        The Grand Jury returned an indictment against this defendant on October 29, 2014

(Docket No. 17). The issues raised, therefore, in his Emergency Motion to Stay Proceedings,

Review and Order a New Preliminary Hearing (Docket No. 11) have been rendered moot. That

motion is therefore DENIED.

        It is so ORDERED.

        ENTER this 29th day of October 2014.




                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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